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11

12                              UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14

15   ANIBAL RODRIGUEZ, et al. individually and on    Case No. 3:20-CV-04688 RS
     behalf of all others similarly situated,
16                                                   DECLARATION OF EDUARDO E.
                                 Plaintiff,          SANTACANA IN SUPPORT OF
17                                                   GOOGLE LLC’S REPLY IN SUPPORT
            v.
                                                     OF ITS MOTION FOR SUMMARY
18
     GOOGLE LLC, et al.,                             JUDGMENT
19
                                 Defendant.          Date:      July 25, 2024
20                                                   Time:      1:30 p.m.
                                                     Courtroom: 3, 17th Floor
21                                                   Judge:     Hon. Richard Seeborg

22                                                   Action Filed: July 14, 2020
                                                     Trial Date:   February 10, 2025
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                           SANTACANA DECLARATION IN SUPPORT OF
                    GOOGLE LLC’S REPLY RE MOTION FOR SUMMARY JUDGMENT
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 1            I, EDUARDO E. SANTACANA, declare that:

 2          1.      I am an attorney licensed to practice law in the State of California and am a partner

 3   with the law firm of Willkie Farr & Gallagher LLP, located at 333 Bush Street, 34 th Floor, San

 4   Francisco, California 94104, counsel for Defendant Google LLC (“Google”) in the above-captioned

 5   action. Unless otherwise stated, the facts I set forth in this declaration are based on my personal

 6   knowledge or knowledge I obtained through my review of corporate records or other

 7   investigation. If called to testify as a witness, I could and would testify competently to such facts

 8   under oath.

 9          2.      I submit this declaration in support of Google’s Reply in Support of its Motion for

10   Summary Judgment filed herewith.

11          3.      Around December 31, 2020, I informed Plaintiffs that to provide the data they

12   requested associated with their Google Accounts, Google required Plaintiffs’ specific Google

13   Account IDs and/or email addresses. Attached hereto as Exhibit A is a true and correct copy of the

14   correspondence from myself to Plaintiffs’ counsel, dated December 31, 2020.

15          4.      By March 11, 2021, Plaintiffs had been informed that Google could not use Google

16   Account IDs or other identifying information to look up app activity data generated on their devices

17   while they had WAA off because Google does not associate WAA-off data with Google Accounts.

18   To look up WAA-off data, Google would need Plaintiffs to provide a pseudonymous identifier

19   obtained directly from their devices. On May 7, 2021, Google provided further instructions on

20   identifying and providing the pseudonymous identifier. Attached hereto as Exhibit B is a June 9,

21   2021 letter from myself to Plaintiffs’ counsel delineating these efforts.

22          5.      On or around October 29, 2021, after months of follow-up conferences and

23   correspondences, Plaintiffs provided the pseudonymous identifiers from their devices that would

24   “permit Google to locate Plaintiffs’ app instance identifiers and retrieve their associated GA for

25   Firebase app measurement logs.” Attached hereto as Exhibit C is a true and correct copy of

26   correspondence from Plaintiffs’ counsel to Google’s counsel regarding Plaintiffs’ pseudonymous

27   identifiers.

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                            SANTACANA DECLARATION IN SUPPORT OF
                     GOOGLE LLC’S REPLY RE MOTION FOR SUMMARY JUDGMENT
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 1         6.      Attached hereto as Exhibit D are true and correct excerpts from the deposition

 2   transcript of Christopher Ruemmler dated September 9, 2022.

 3         7.      Attached hereto as Exhibit E are true and correct excerpts from the deposition

 4   transcript of Arne De Booij dated February 7, 2023.

 5         8.      Attached hereto as Exhibit F are true and correct excerpts from the deposition

 6   transcript of JK Kearns dated February 17, 2023.

 7         9.      Attached hereto as Exhibit G are true and correct excerpts from the deposition

 8   transcript of Steven Ganem dated October 28, 2022.

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10          I declare under penalty of perjury under the laws of the United States that the foregoing is

11   true and correct.

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13   Dated: June 13, 2024                                  _______/s/ Eduardo E. Santacana
                                                                    Eduardo E. Santacana
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                            SANTACANA DECLARATION IN SUPPORT OF
                     GOOGLE LLC’S REPLY RE MOTION FOR SUMMARY JUDGMENT
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